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14                           UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
                                  SOUTHERN DIVISION
16

17
       JOHN C. EASTMAN                      Case No. 8:22-cv-00099-DOC-DFM
18
19                   Plaintiff,
20     vs.
21     BENNIE G. THOMPSON, et al.,
22
                     Defendants.
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Case 8:22-cv-00099-DOC-DFM Document 376 Filed 10/28/22 Page 2 of 3 Page ID #:6029



 1                                         NOTICE OF APPEAL
 2
                    Please take notice the Plaintiff hereby appeals this Court’s orders entered March 28,
 3
 4 2022 (ECF 260), June 8, 2022 (ECF 359) and October 19, 2022 (ECF 372). These orders are appealed
 5 pursuant to Federal Rule of Appellate Procedure 3 or, in the alternative, pursuant to 28 U.S.C. § 1292.
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11
     October 28, 2022                                           Respectfully submitted,
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13
14                                                      /s/Anthony T. Caso
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Case 8:22-cv-00099-DOC-DFM Document 376 Filed 10/28/22 Page 3 of 3 Page ID #:6030



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                                    CERTIFICATE OF SERVICE
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        I hereby certify that a copy of this filing has been served on opposing counsel by email.
11
                                                             By: /s/ Charles Burnham
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